Case 1:17-cv-02899-LTS Documenti1-18 Filed 04/21/17

   

 

ELIZABETH CASTRO

2nd Vice Prasident

3rd Vice Préesigent

MICHAEL MAIELLO
Treasurer

AMELIA WARNER
Financtal Secretary

THOMAS FARRELL
Legislative (haitman

KENYATTA JOHNSON
Carrespondling Secuetary

KAREN BELFIELD
Recording Secretary

BENNY BOSCIO
Sergeantat- Arnis

ALBERT CRAIG
First City-Wide Trustee

ANGEL CASTRO
Manhattan Borqugi Triste:

DANIEL PALMIERI
Bronx Borough Trusts:

FREDERIC FUSCO

Queens Borbuan Teus tae

PAULETTE JOHNSON
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ction Officers’ Benevolent Association, Ine
/ ig the Toughest Precincts in New York”

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jung: 15, 2016
Reman Commissioner
NYC Department of Correction
75-20 Astoria Boulevard

East Elmhurst, NY 11370

 

Dear Commissioner Ponte,

lam writing to you Commissioner, specifically inquiring on your plan of action to
provide redress to the uniformed staff of the New York City Department of
Correction.

AS you are aware overtime is at astronomical levels with a trajectory that
continues to rise. That coupled with an increased turnover rate of future retirees
who as of July 1st are eligible to cash out their terminal leave will lead this
department to serious staffing shortages and security breaches.

As attrition continues to take its toll the Correction Academy will not be able to
meet the demands of this agency. New recruits require four months of training
for the Basic Course of Peace Officer with Firearm to meet the requisite
requirements as a New York City Correction Officer, as required by the State of
New York Division of Criminal Justice Services, Municipal Police Training Council.
The current Correction Academy is no longer a viable resource to meet these
requirements of the department with its limited capabilities. The department
needs to invest in an academy that can support classes that are not limited by the
size of its current academy that can at a maximum produce around 600 recruits
but to meet the needs of the agency with an academy that can produce 1,500
recruits and provide expanded capabilities for training in a manner consistent
with the department's annual training requirements.

In light of the above presented facts it is recommended that the department
exercises extreme caution in the future as it assesses this current overtime crisis
and provides a complete plan of action. The entire workforce of correction
officers is currently working astronomical amounts of overtime. Within the last
two years several officers have passed away; in car accidents, on the Rikers
Island bridge, at home and at work. Officers are having there lively hood impair
their abilities to interact with their families and communities, resulting in
divorces and the loss of being able to see their children grow up. Officers are
being subjected to extreme employee fatigue, long term sleep deprivation,
impaired health in relation to the suppression of an individual's cognitive
abilities, suppressed immune systems due to the lack of sleep, all of which
increases sick leave use, deteriorates moral, increase medical cost, and increase
liabilities.

 

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Case 1:17-cv-02899-LTS Documenti1-18 Filed 04/21/17 Page 2. of 24

 

ELIZABETH CASTRO

2nd Vice President

3rd Vice President Based upon the fact that officers are now also working upwards of 100 hours of
MICHAEL MAIELLO overtime per month “almost the full time equivalent of two members of service”
Treasurer it is requested as a part of this plan of action that each probationary officer have
AMELIA WARNER their probationary periods reduced to 18 months and placed in permanent

Financial Secretary

THOMAS FARRELL
Legislative Chairman

sEuiiniouuon As part of the department's plan of action into the next fiscal year it is
Corresponding Secretary recommended that the department take every reasonable step into the
mitigation of overtime to include but not limited to the following:

status. Ultimately reducing probationary periods during this overtime crisis.

KAREN BELFIELD
Recording Secretary
BENNY. BOSCIO ¢ Immediate freezing or reduction of non-annual PREA & NUNEZ training
a during the first three senior vacation picks
a Ei wide ustee * Consideration of the closure of a housing facilities to offset overtime and
ANGEL CASTRO staffing demand
eos mimiotea e Nonew programs pending an influx of recruits or staff to support the
DANIEL PALMIERI :
Bronx Borough Trustee increased staffing demand
sReDecrusco e Postpone the opening of all future special housing areas and/or new
Queens Borough Trustee housing areas
PAULETTE JOHNSON i imi i i
rockin Beroegh irestee 2 Bring “ an age limit to new recruits 32 years old for general public, 35
BISHOP WILLIAM with mi tala
oo i e Provide a pension drop (up to five years) for senior staff to consider
preserving their service to offset this severe staffing crisis.
VINCENT COPPOLA . : _.
Retiree Consultant e Increase all future recruit class frequencies to ratios that exceed attrition
KOEHLER & ISAACS, LLP by 2:1 or greater until this staffing crisis is resolved.
COBA Attorney
I look forward to discussing these matters with you in the near future.
Sincerely,
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